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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA

                                           CRIMINAL MINUTES – GENERAL


Case No.        8:19-cr-00047-JLS-1                                                              Date: April 29, 2019


Present: The Honorable: JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

Interpreter None

                Rolls Royce Paschal                         Deborah Parker                 Mark Takla & Annamartine Salick
                    Deputy Clerk                        Court Reporter / Recorder                     Assistant U.S. Attorney


  U.S.A. v. Defendant(s)              Present Cust    Bond                Attorneys for Defendants:              Present App Ret

  Stephen William Beal                 X      X                           Amy Karlin, DFPD                            X        X
                                                                          Richard Novak, CJA                          X        X


Proceedings: STATUS CONFERENCE (Held and Continued)

        Defendant present in court unshackled. Hearing held. Court and counsel confer. Upon stipulation of
counsel and approval by the Court, the Trial in the above matter is continued to Tuesday, July 14, 2020 at 9:00
a.m. A further Status Conference is set for Friday, November 1, 2019 at 9:30 a.m. Counsel shall submit a
status report two (2) weeks prior to the Status Conference hearing. Defendant is ordered to appear at all dates
and times.




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                                                                                  Initials of Deputy Clerk      rrp




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